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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 MARICEL GONZALEZ,

        Plaintiff,

 vs.
                                                    CASE NO.: 8:17-cv-02908-SCB-MAP
 JPMORGAN CHASE BANK, N.A.,

        Defendant.


            JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE


       COMES NOW the Plaintiff, MARICEL GONZALEZ, and the Defendant, CHASE
BANK USA, N.A., pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, without
prejudice, each claim and count therein asserted by Plaintiff against the Defendant, in the above
styled action, with Plaintiff and Defendants to bear their own attorney’s fees, costs and expenses.
       Respectfully submitted this 6th day of June, 2018.


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